










NUMBER 13-02-001-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________


WILLIAM STEED KELLEY , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 156th District Court 

of Bee County, Texas.

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O P I N I O N

         

Before Chief Justice Valdez and Justices Hinojosa and Yanez

Opinion Per Curiam


Appellant, WILLIAM STEED KELLEY , perfected an appeal from a judgment entered by the 156th District Court of Bee
County, Texas,  in cause number B-01-M0080-PR-B.   Appellant has filed a motion to dismiss the appeal.  The motion
complies with Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 4th day of April, 2002 .


